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11                                UNITED STATES DISTRICT COURT
12                           NORTHERN DISTRICT OF CALIFORNIA
13                                   SAN FRANCISCO DIVISION
14
     MAXIMILIAN KLEIN, et al., on behalf                  Case No. 3:20-cv-08570-JD
15   ofthemselves and all others similarly situated,
                                                          DECLARATION OF CATHERINE
16                  Plaintiffs,                           SPEVAK IN SUPPORT OF NON-
                                                          PARTY APPLE’S STATEMENT IN
17          v.                                            SUPPORT OF DEFENDANT META
                                                          PLATFORMS, INC.’S RESPONSE TO
18   META PLATFORMS, INC., a Delaware                     ADVERTISER PLAINTIFFS’ MOTION
     Corporation,                                         TO CONSIDER WHETHER ANOTHER
19                                                        PARTY’S MATERIAL SHOULD BE
                    Defendant.                            SEALED (DKT. 837)
20
                                                          Judge: Hon. James Donato
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     DECLARATION OF CATHERINE SPEVAK IN SUPPORT OF META’S RESPONSE TO ADVERTISER PLAINTIFFS’ ADMIN. MOT.
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 1         I, Catherine Spevak, do hereby declare as follow:
 2         1.      I am a Finance Manager at Apple Inc. I have been employed by Apple si
                                                                                       nce
 3 November 2021 and have held my current title since January 2023. Over the course of my

 4 employment at Apple, I have acquired personal knowledge of Apple’s practices and procedures

 5 concerning the maintenance of the confidentiality of i
                                                        ts strategic, business, and fi
                                                                                     nancial
 6 information.

 7         2.      I respectfully submitthis declaration in support of Apple’s Statement in Support of
 8 Meta’s Response to Advertiser Plaintiffs’ Moti
                                                on to Consider Whether Another Party’s Material
 9 Should Be Sealed, whi
                       ch Meta filed on August 26, 2024 in Klein v. Meta Platforms, Inc., Case No.
10 3:20-cv-08570-JD (N.D. Cal.).

11         3.      The facts set forth in thi
                                            s declaration are true and correct to the best of my
12 knowledge, informati
                      on, and beli
                                 ef, and are based on my personal knowledge of Apple’s poli
                                                                                          cies
13 and practices as they relate to the treatment of confidential informati
                                                                         on, materials that were
14 provided to me and reviewed by me. If called upon as a witness in this acti
                                                                             on, I could and would
15 testify from my personal knowledge and knowledge acquired from sources with factual foundation.

16         4.      The two contracts for which Apple supports Meta’s seali
                                                                         ng requests, the Servi
                                                                                              ces
17 Integration Agreement and the Side Letter to that agreement, are maintained as highly confidential.

18 To the best of my knowledge, neither of these contracts has been publicly disclosed. The

19 information in these contracts is highly sensiti
                                                  ve. Moreover, because these contracts reveal terms
20 that Apple agreed to wi
                         th a counterparty, if publi
                                                   cly disclosed, they could prejudice Apple’s
21 competitive positi
                    on by harming Apple’s relationships with business partners, developers, and
22 advertisers, putti
                    ng Apple at unfai
                                    r disadvantage in future business negotiations, and permitting
23 Apple’s competitors to gain an unfai
                                      r advantage in competition with Apple.
24         5.      The text appeari
                                  ng (1) in Advertiser Plaintiffs’ Opposi
                                                                        tion to the Omni
                                                                                       bus Sealing
25 Moti
      on (Dkt. 835 at 3:4-6, between “Apple from” and “Beyond age”), and (2) in Adverti
                                                                                      ser
26 Plaintiffs’ Motion for Class Certification (Dkt. 795/796 at 8:3-9, between “Meta and Apple” and

27 “and a July,” as well as between “Apple and Meta” and “between the two compani
                                                                                es”) contains
28 confi
       denti
           al, non-public information that implicates Apple’s confidentiality interests by revealing

                                                     -1-
       DECLARATION OF CATHERINE SPEVAK IN SUPPORT OF META’S RESPONSE TO ADVERTISER PLAINTIFFS’ ADMIN. MOT.
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 1 contractual terms i
                     n which Apple has a reasonable expectation of confidentiality. Disclosure of
 2 this non-public informati
                           on may result in competitive harm to Apple, as it reveals confidential
 3 contract terms, whi
                     ch, as detailed above, could give a competitor or potenti
                                                                             al busi
                                                                                   ness partner
 4 unfai
       r leverage in competing against or negotiating with Apple.
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      DECLARATION OF CATHERINE SPEVAK IN SUPPORT OF META’S RESPONSE TO ADVERTISER PLAINTIFFS’ ADMIN. MOT.
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 1          I declare under penalty of perjury under the laws of the United States that the foregoing is
 2 true and correct.

 3          Executed on August 30, 2024 at San Francisco, California.
 4

 5

 6

 7                                                                 Catheri
                                                                         ne Spevak
 8

 9                                     SIGNATURE ATTESTATION
10          I, Caroline Van Ness, am the ECF User whose ID and password are being used to file thi
                                                                                                 s
11 document. In compli
                     ance wi
                           th CivilLocal Rule 5-1, I hereby attest that all counsel whose e-
12 signatures (/s/) appear on this document concurred in this fili
                                                                 ng.
13
     DATED: August 30, 2024                                By: /s/ Caroline Van Ness
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      DECLARATION OF CATHERINE SPEVAK IN SUPPORT OF META’S RESPONSE TO ADVERTISER PLAINTIFFS’ ADMIN. MOT.
                                             Case No. 3:20-cv-08570-JD
